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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
IN RE: DAVOL, INC./C.R. BARD, Case No. 2:18-md-2846
INC., POLYPROPYLENE HERNIA
MESH PRODUCTS LIABILITY
LITIGATION CHIEF JUDGE EDMUND A. SARGUS, JR.

Magistrate Judge Kimberly A. Jolson

This document relates to:
ALL ACTIONS.

CASE MANAGEMENT ORDER NO. 9

Governing Initial Pleadings
L SCOPE OF ORDER

This Order shall govern all actions in the above-captioned MDL proceeding (“this MDL”)
to the extent set forth herein that are directly filed in this MDL after the date of this Order or
otherwise expressly identified herein.

This Order relates to Plaintiffs’ filing and service of a Master Complaint, future filings of
Short Form Adoption By Reference Complaints, Defendants Davol, Inc. and C.R. Bard, Inc.’s
responsive pleading obligations, including Short Form Adoption By Reference Answers, and Rule
26 Initial Disclosures.

II. MASTER PLEADINGS

A, Master Complaint: Within 14 days of entry of this Order, the Plaintiffs’ Steering

Committee shall file and serve a Master Complaint. The Master Complaint shall identify all

products that are part of this MDL.

B. Short Form Adoption By Reference Complaint: Attached as Exhibit A, is a

sample Short Form Adoption By Reference Complaint (“Short Form Complaint”) for use in this
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MDL. Plaintiffs shall file and serve a Short Form Complaint in the form attached hereto in every
action that is directly filed in this MDL following entry of this Order. For each action in this MDL,
subject to this Order, the Master Complaint together with the Short Form Complaint shall be
deemed the operative complaint.

Cc. Master Answer: Subject to Section VII below (regarding motions to dismiss and
for judgment on the pleadings), within 30 days after being served with the Master Complaint via
the ECF system, Defendants named in the Master Complaint shall file via the ECF system a Master
Answer which shall include all affirmative defenses to the Master Complaint.

D. Short Form Adoption By Reference Answer: Each Defendant named in a Short
Form Complaint will respond with a Short Form Adoption By Reference Answer (“Short Form
Answer”). A sample Short Form Answer is attached as Exhibit B. The Short Form Answer may
either adopt and incorporate the responses and defenses set forth in Defendants’ Master Answer
or assert new ones. The Short Form Answer shall serve as a general denial of all claims asserted
in the Short Form Complaint or admit some and shall incorporate by reference defenses asserted
in the Master Answer (or otherwise assert the defenses to that action). For each action subject to
this Order, the Master Answer, together with the Short Form Answer, shall be deemed the
operative answer. For any Plaintiff who utilizes a Short Form Complaint and identifies “Other
Count(s”) as set forth in Section 11 of the Short Form Complaint, by filing a Short Form Answer,
Defendants will be deemed to have denied any and all asserted “Other Count(s)” and reserve all
rights to assert any and all defenses to any and all “Other Count(s)” that are pled in accordance
with Section II.E, below, and Section VII, below. For any Long Form Complaints that are filed in
other jurisdictions and conditionally transferred to this Court via Conditional Transfer Order

(“CTO”), Defendants shall be permitted to interpose a Short Form Answer.
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E. A subsequent Case Management Order will address the filing and service of
Defendants’ responsive pleading obligations and interposing more robust and detailed Answers
for cases that are selected into the Bellwether Process. The same Case Management Order shall
address the potential filing of amended complaint(s) for cases selected into the Bellwether Process.

F. Service Under Rule 4: Defendants have agreed that they will waive formal service
of process for cases directly filed in or to be transferred to this MDL. By waiving service of
process and accepting complaints by email, Defendants are not waiving any affirmative defenses,
but Defendants shall not challenge the adequacy of service if made pursuant to this Section below.

To effectuate service, Plaintiffs shall send an ECF-conformed or stamped copy of the filed
complaint/short form complaint to FederalBardService@ReedSmith.com. By sending an e-mail
to this address containing the ECF-conformed or stamped copy of the complaint, this will
constitute good, valid and official service for these actions under FED. R. CIv. P. 4. Actions shall
be considered served on the date and time of the transmittal of the e-mail containing the
aforementioned items.

G. Electronic Filing: All Short Form Complaints must be filed electronically, absent
extraordinary circumstances. Prior to any plaintiffs attorney filing a Short Form Complaint
directly in this MDL, that attorney must register for, and obtain, a Southern District of Ohio login
name and password. All attorneys must familiarize themselves with the Southern District of
Ohio’s Electronic Filing Policies and Procedures Manual published on February 22, 2013, found
at:
http://www.ohsd.uscourts. gov/sites/ohsd/files/Electronic%20Filing™%20Policies%20and%20Proc
edures.%202013.0222.pdf, as well as the Guide to Filing a Civil Complaint that can be found at

http://www.ohsd.uscourts.gov/sites/ohsd/files/attorney%20new%20case%20filing%20guide. pdf.
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H. Filing Fees: Internet credit card payments shall be required for all complaints and
made online through Pay.gov. Plaintiffs’ counsel will be prompted to pay the required filing fee.
Information regarding filing fees can be found in the Electronic Case Filing Procedures Guide, at
http://www.ohsd.uscourts.gov/sites/ohsd/files/Policies%20and%20Procedures%20Manual%20Fi

nal%200104201 6a.pdf.

I, Duties of Individual Plaintiffs’ Counsel: It is the duty of the counsel representing

 

the individual plaintiffs proceeding hereunder to ensure that the Short Form Complaint(s) for his
or her plaintiffs are completed properly, including any additional counts pled thereto. Nothing in
this Case Management Order changes the respective roles and duties of the Plaintiffs’ Steering
Committee and the counsel for the individual plaintiffs as detailed in Paragraph 7 of CMO 3.

I. APPLICATION TO ACTIONS ALREADY FILED IN, OR TRANSFERRED TO,
THIS MDL

A, For any action filed in, or transferred to, this MDL before entry of this Order:
i. Defendant(s) shall Answer the operative complaint with a Short Form
Answer within forty-five (45) days of entry of this Order or after being
properly served with the Complaint in accordance with Section ILF., above,
whichever is longer.
IV. NO LEXECON WAIVER
Consistent with CMO 2, nothing in this Order constitutes a waiver under Lexecon, Inc. v.
Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998), by any party. However, nothing in
this Order shall preclude the parties from agreeing to such waivers in the future. The issue of such

waivers will be the subject of a future Case Management Order to address Bellwether Cases.\
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V. TRANSFER TO FEDERAL DISTRICT COURT OF PROPER VENUE

Section F of Case Management Order No. 1 filed in this MDL [ECF No. 11] will apply to
when and how cases should be transferred to the federal district court in the district of proper
venue.
VI. CHOICE OF LAW

As set forth CMO 2, Section G, filing directly in this MDL—a Short Form Complaint—
pursuant to this Order will not determine the applicable choice of law, including the choice of law
for any of the claims in the action and for statute of limitations purposes. The fact that an action
was filed directly in this MDL pursuant to this Order will have no impact on choice of law. Choice
of law issues are reserved and shall be briefed, as appropriate, at a later date.
VU. MOTIONS TO DISMISS/JUDGMENT ON THE PLEADINGS

Defendants reserve all rights to move to dismiss or for judgment on the pleadings under
Federal Rules of Civil Procedure 9 and 12.
VII. RULE 26 INITIAL DISCLOSURES

The requirements of FED. R. Civ. P. 26(a)(1)(A) shall hereby be waived for ail parties
going forward. However, in an effort to advance the litigation, Defendants Davol, Inc. and C.R.
Bard, Inc. each agree to provide a Master Initial Disclosure on or before December 7, 2018 2018.

Service of these disclosures shall be made on the PSC’s co-lead counsel.

 

IT IS SO ORDERED.
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DATE EDMUN® A/SARGUS, JR.

CHIEF UNITED STATES DISTRICT JUDGE

|(/20 [20/8 AGA

DATE RLY A. JOLSQON
UNITED STATES GISTRATE JUDGE

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: DAVOL, INC/C.R. BARD, INC., ae.
POLYPROPYLENE HERNIA MESH Case No. 2:18-md-2846

PRODUCTS LIABILITY LITIGATION CureF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson

This document relates to: - .
PLAINTIFF NAME. Civil Action No.
SHORT FORM COMPLAINT

Plaintiff(s) file(s) this Short Form Complaint pursuant to Case Management Order No. _
and is/are to be bound by the rights, protections, and privileges and obligations of that Order.
Plaintiff(s) hereby incorporate(s) the Master Complaint in MDL No. 2846 by reference.
Plaintiff(s) further show(s) the Court as follows:

1, The name of the person implanted with Defendants’ Hernia Mesh Device(s):

 

2. The name of any Consortium Plaintiff (if applicable):

3. Other Plaintiff(s) and Capacity (i.¢., administrator, executor, guardian, conservator):

 

4. State of Residence:

 

5. District Court and Division in which action would have been filed absent direct filing:

 
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6. Defendants (Check Defendants against whom Complaint is made):
[]} A. Davol, Inc.
L] 8B. CR. Bard, Inc.
[] C. Other (please list: )

7. Identify which of Defendants’ Hernia Mesh Device(s) was/were implanted (Check
device(s) implanted):

3DMax Mesh

3DMax Light Mesh

Bard (Marlex) Mesh Dart
Bard Mesh

Bard Soft Mesh

Composix

Composix E/X

Composix Kugel Hernia Patch
Composix L/P

Kugel Hernia Patch

Marlex

Modified Kugel Hernia Patch
Perfix Light Plug

PerFix Plug

Sepramesh IP

Sperma-Tex

Ventralex Hernia Patch

Ventralex ST Patch

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[] = Ventralight ST

[] — Ventrio Patch

L] Ventrio ST

[]  Visilex

[_] Other (please list in space provided below):

 

 

8. Defendants’ Hernia Mesh Device(s) about which Plaintiff is making a claim (Check
applicable device(s)):

3DMax Mesh

3DMax Light Mesh

Bard (Marlex) Mesh Dart
Bard Mesh

Bard Soft Mesh

Composix

Composix E/X

Composix Kugel Hernia Patch
Composix L/P

Kugel Hernia Patch

Marlex

Modified Kugel Hernia Patch

Perfix Light Plug

NOOROKO0OR0fFFooOoo g

PerFix Plug
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10.

11.

12.

Sepramesh IP
Sperma-Tex

Ventralex Hernia Patch
Ventralex ST Patch
Ventralight ST

Ventrio Patch

Ventrio ST

Visilex

OUOOOOOog

Other (please list in space provided below):

 

 

Date of Implantation and state of implantation:

 

As of the date of filing this Short Form Complaint, has the person implanted with
Defendants’ Hernia Mesh Device(s) had subsequent surgical intervention due to the Hernia
Mesh Device(s)?: Yes No

Basis of Jurisdiction:

[| Diversity of Citizenship

[-] Other:

 

Counts in the Master Complaint adopted by Plaintiffs):
Count I — Strict Product Liability- Defective Design
Count II — Strict Product Liability- Failure to Warn

Count III — Strict Product Liability- Manufacturing Defect

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Count IV— Negligence
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OU

Count V— Negligence Per Se
Count VI Gross Negligence

Count VII — State Consumer Protection Laws (Please identify applicable State
Consumer Protection law(s)):

 

 

 

HOUOOOOROO0D

Count VIII — Breach of Implied Warranty

Count IX — Breach of Express Warranty

Count X — Negligent Infliction of Emotional Distress
Count XI — Intentional Infliction of Emotional Distress
Count XII — Negligent Misrepresentation

Count XIII — Fraud and Fraudulent Misrepresentation
Count XIV — Fraudulent Concealment

Count XV — Wrongful Death

Count XVI — Loss of Consortium

Count XVII — Punitive Damages

Other Count(s) (please identify and state factual and legal bases for
other claims not included in the Master Complaint below):

 

 

 

 

 

 

Jury Trial is Demanded as to All Counts

Jury Trial is NOT Demanded as to All Counts; if Jury Trial is
Demanded as to Any Count(s), identify which ones (list below):

 

 
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s/
Attorney(s) for Plaintiff

Address, phone number, email address and bar information:
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

IN RE: DAVOL, INC./C.R. BARD, INC., )} Case No. 2:18-md-2846
POLYPROPYLENE HERNIA MESH )
PRODUCTS LIABILITY LITIGATION ) CHIEF JUDGE EDMUND A. SARGUS, JR.
) Magistrate Judge Kimberly A. Jolson
This Document Relates to: )
)
Case No.: )

DAVOL, EINC.’S AND C.R. BARD, INC’S SHORT FORM ADOPTION BY REFERENCE
ANSWER TO PLAINTIFFS’ SHORT FORM ADOPTION BY REFERENCE
COMPLAINT

Pursuant to Case Management Order No. 9, Defendants Davol, Inc. and C.R. Bard, Inc.
(“Defendants”), by and through their undersigned counsel, hereby submit their Short Form
Adoption by Reference Answer.

Defendants hereby incorporate by reference and adopt, as though restated in full, the
Master Answer dated __—, 2018, including each and every Affirmative Defense, and deny
all causes of action in the Master Complaint and Short-Form Adoption by Reference Complaint
unless expressly admitted.

This Short-Form Adoption by Reference Answer is not intended to and shall not waive
any applicable defenses available to Defendants at this time, and Defendants hereby reserve the
right to respond to Plaintiff's individual complaint by way of any motions permissible under the

Federal Rules of Civil Procedure or as set forth in CMO No. 9, at section .

Defendants demand a Jury Trial on all Counts,

Dated:
Respectfully submitted,

fs/

[Insert Name]

[Insert Firm Name]
[Insert Firm Address]
[Insert Phone Number]
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[Insert Fax Number]
[Insert E-mail]
